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                                           August 22, 2018


VIA ECF AND HAND DELIVERY

Honorable Michael A. Hammer
United States Magistrate Judge, District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Room 2042
Newark, NJ 07101

          RE:        Pharmacia Corp. n/k/a Pfizer Inc. v. Arch Specialty Insurance Co., et al.,
                     No. 2:18-cv-00510-ES-MAH (D.N.J.)_______________________________

Dear Judge Hammer:

         We represent Plaintiff Pharmacia Corporation n/k/a Pfizer Inc. (“Pfizer”) in the above-
captioned matter. Pursuant to Your Honor’s August 16, 2018 Text Order (Dkt. No. 60), and
Your Honor’s judicial preferences regarding submission of confidential memoranda, enclosed
please find copies of the subject settlement agreements for Your Honor’s in camera review.1
Given the size of the filing, we were advised to hand deliver these documents to Chambers in
lieu of faxing them.

         We thank the Court for its attention to this matter.


                                               Respectfully,
                                               /s Robin L. Cohen


                                               Robin L. Cohen

Encls.
cc:    All Counsel of Record (via ECF; w/out enclosures)




1
  As Plaintiff previously advised the Court and defendants, Plaintiff did not enter into any
agreement with three of the underlying insurers: Federal Insurance Company, Lloyd’s of
London, and U.S. Specialty Insurance Company.
                                       McKool Smith
                                  A Professional Corporation • Attorneys
    Austin | Dallas | Houston | Los Angeles | Marshall | New York | Silicon Valley | Washington, DC
